         Case 1:17-cr-00069-RDB Document 136 Filed 09/17/18 Page 1 of 6




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                                    Document 136 Filed 09/17/18 Page 2 of 6
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